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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CARLOS JIMENEZ,                                   Civil No. 3:21-cv-1201

              Petitioner                          (Judge Mariani)

       V.


STEPHEN SPAULDING, WARDEN,

              Respondent

                           /~             ORDER
                                 1
       AND NOW, this ~           day of October, 2021, upon consideration of the petition for

writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

       1.     The petition for writ of habeas corpus is DENIED. (Doc. 1).

       2.     The Clerk of Court is directed to CLOSE this case.




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                                          United States District Judge
